Case 2:19-cv-00065 Document 1-1 Filed 01/25/19 Page 1 of 22 PagelD #: 6

EXHIBIT A
 

Case 2:19-cv-00065 Document 1-1 Filed 01/25/19 Page 2 of 22 PagelD #: 7

IN THE CIRCUIT COURT OF WOOD COUNTY, WEST VIRGINIA

Darlene Gum
928 Belrock Avenue
Belpre, Ohio 45714,

Plaintiff,

Sam’s West, Inc. d/b/a Sam’s Club
c/o The Corporation Company
Statutory Agent

124 West Capitol Avenue, Suite 1900
Little Rock, Arkansas 72201,

AND

Sam’s West, Inc. d/b/a Sam’s Club
c/o CT Corporation System

5400 D Big Tyler Road
Charleston, West Virginia 25313,

AND

Sam’s East, Inc. d/b/a Sam’s Club
c/o The Corporation Company
Statutory Agent

124 West Capitol Avenue, Suite 1900
Little Rock, Arkansas 72201,

AND

Sam’s East, Inc. d/b/a Sam’s Club

c/o CT Corporation System

1627 Quarrier Street

Charleston, West Virginia 25311-2124,

AND

Civil ActionNo.: /¥- (7-3 ¥3

Judge:

FILED IN OFFICE

DEC 27 2018

OLE JONES
cue CIRCUIT COURT

Page | of 9

 
 

Case 2:19-cv-00065 Document 1-1

Sam’s Club

Store #6373

1100 Grand Central Ave.
Vienna, West Virginia 26105, |

AND

Walmart, Inc.

c/o The Corporation Company
Statutory Agent

124 West Capitol Avenue, Suite 1900
Little Rock, Arkansas 72201,

AND
Walmart, Inc.
c/o CT Corporation

1627 Quarrier Street
Charleston, West Virginia 25311-2124,

AND

John Doe 1

Current address

and identity unknown,

Defendants.

Filed 01/25/19

COMPLAINT

JURY DEMAND ENDORSED HEREON

COUNT ONE

Page 3 of 22 PagelD #: 8

1. Plaintiff, Darlene Gum, is an individual, a United States Citizen, and a resident of

the State of Ohio (Washington County). Plaintiff Gum is the injured party in this action.

2. At all material times, Defendant Sam’s West, Inc. was and continues to be an

Arkansas corporation, authorized to conduct business and conducting business in the State of

West Virginia, with its principal place of business in Arkansas, located at 2101 SE Simple

Savings Dr., Bentonville, Arkansas 72712. Sam’s West can be served through their statutory

Page 2 of 9

 
 

Case 2:19-cv-00065 Document 1-1 Filed 01/25/19 Page 4 of 22 PagelD #: 9

agent, The Corporation Company, 124 West Capitol Avenue, Ste. 1900, Little Rock, Arkansas
72201.

3. At all material times, Defendant Sam’s East, Inc. was and continues to be an
Arkansas corporation, authorized to conduct business and conducting business in the State of
West Virginia, with its principal place of business in Arkansas, located at 2101 SE Simple
Savings Dr., Bentonville, Arkansas 72712. Sam’s East can be served through their statutory
agent, The Corporation Company, 124 West Capito] Avenue, Ste. 1900, Little Rock, Arkansas
72201.

4, At all material times, Defendant Walmart, Inc. was and continues to be a
Delaware corporation, authorized to conduct business and conducting business throughout the
‘United States of America, including in the State of West Virginia, with its principal place of
business in Arkansas, located at 702 SW 8th Street, Bentonville, Arkansas 72716. Walmart can
be served through their statutory agent, The Corporation Company, 124 West Capitol Avenue,
Ste. 1900, Little Rock, Arkansas 72201.

5. At all material times, Defendant John Doe 1, whose current identity and address is
unknown, was the employee and/or servant of Defendants.

6. Defendant Doe, as an employee of Defendants, operated a shopping cart in such a
manner as to cause bodily harm and injury to Plaintiff Darlene Gum.

7. At all times pertinent to this action, Defendants owned, operated, maintained
and/or otherwise exercised control over the premises held open to the public and located at 1100
Grand Central Ave., Vienna, Wood County, West Virginia, being operated as Sam’s Club, store

number 6373 (“Premises”).

Page 3 of 9

 
 

Case 2:19-cv-00065 Document 1-1 Filed 01/25/19 Page 5 of 22 PagelD #: 10

8. On or about January 13, 2017, Plaintiff was lawfully and properly a business

invitee and patron at the Premises.

9. At said time and place, Plaintiff, after purchasing various items including a big
screen television, exited the Premises into the parking lot. -

10. At said time and place, Defendant Doe exited the building following directly
behind Plaintiff to assist her in loading her purchased items into her car; specifically Defendant
Doe was pushing a flatbed shopping cart with Plaintiff's new television loaded on it.

11. At said time and place, Defendant Doe, while following behind Plaintiff,
negligently struck Plaintiff with the flatbed shopping cart from behind in the right leg and knee,
causing Plaintiff to suffer serious injuries.

12. At said time and place of the aforementioned negligence, Defendant Doe was
acting as an agent of and/or in concert with and/or for Defendants, and within the scope and in
furtherance of his employment with and/or at the direction of Defendants.

13. As a result of the aforementioned negligence of Defendants, acting jointly and/or
severally and/or in concert, Plaintiff suffered serious physical injuries, including, but not limited
to, injury to her right leg and knee requiring surgical intervention; some of said injuries which
are and may be permanent in nature.

14.__— As a result of the aforementioned negligence, Plaintiff incurred expenses in
excess of Eighty One Thousand and 00/100 Dollars ($81,000.00) for medical treatment and
hospital expenses and may incur additional expenses for medical treatment in the future. Some
of said expenses may be subrogated.

15. As result of the aforementioned negligence of Defendant Doe and/or Defendants,

acting jointly and/or severally and/or in concert, and the resulting injury, Plaintiff has lost or had

Page 4 of 9

 
 

Case 2:19-cv-00065 Document 1-1 Filed 01/25/19 Page 6 of 22 PagelD #: 11

impaired the use of her physical faculties, suffered pain and mental anguish, embarrassment,
humiliation and fright and will continue to suffer in the future.

16. As aresult of the aforementioned negligence and resulting injury Plaintiff has lost
income and is reasonably expected to suffer a loss of future income and has had her future
earning capacity impaired.

COUNT TWO

17. _ Plaintiff incorporates herein the allegations contained in paragraphs | through 18
above as if fully rewritten herein.

18. Defendants owed a duty of care to Plaintiff through its employees and/or agents.

19. | Defendant Doe, an employee or agent of Defendants breached the standard of
‘care he owed to Plaintiff when he negligently struck Plaintiff with a flatbed shopping cart
causing injury.

20. Defendants are liable for the conduct of their employee and/or agent, Defendant
Doe, under the doctrine of respondeat superior.

21. —_ As the direct and proximate cause of the negligence of the employee and/or agent
of Defendants, Plaintiff Gum has suffered the damage and harmed stated herein in paragraphs
fifteen (15) through eighteen (18).

COUNT THREE

22. Plaintiff incorporates herein the allegations contained in paragraphs 1 through 23
above as if fully rewritten herein.

23. _—_‘In the alternative to aforementioned negligence, Defendants and/or Doe, acting

jointly and/or severally and/or individually and/or in concert, was/were negligent in failing to use

Page 5 of 9

 
 

Case 2:19-cv-00065 Document 1-1 Filed 01/25/19 Page 7 of 22 PagelD #: 12

ordinary and reasonable care to protect Plaintiff while Plaintiff was on the Premises and/or keep
the Premises in a reasonably safe condition.

24. As a result of the aforementioned failures, omissions and negligence of all
Defendants, acting jointly and/or severally and/or individually and/or in concert, Plaintiff
suffered serious physical injuries, including, but not limited to, injury to her right leg and knee
requiring surgical intervention; some of said injuries which are and may be pemmianent in nature.

25. Asa result of the aforementioned failures, omissions and negligence, Plaintiff
incurred medical expenses in excess of Eighty One Thousand and 00/100 Dollars ($81,000.00)
for medical treatment and hospital expenses and may incur additional expenses for medical
treatment in the future. Some of said expenses may be subrogated.

26. As a result of the aforementioned failures, omissions and negligence of
Defendants, acting jointly and/or severally and/or individually and/or in concert, and resulting
injury, Plaintiff has lost the use of her physical faculties, suffered pain and mental anguish,
embarrassment, humiliation and fright and will continue to suffer in the future.

27. As a result of the aforementioned failures, omissions and negligence of
Defendants, acting jointly and/or severally and/or individually and/or in concert, and resulting
injury, Plaintiff has lost income and is reasonably expected to suffer a loss of future income and
has had her future earning capacity impaired.

COUNT FOUR

28. _ Plaintiff incorporates herein the allegations contained in paragraphs 1 through 28
above as if fully rewritten herein.

29. Defendants were negligent in hiring, retaining, training, and supervising

Defendant Doe.

Page 6 of 9

 
 

Case 2:19-cv-00065 Document 1-1 Filed 01/25/19 Page 8 of 22 PagelD #: 13

30. Defendants and or Doe breached the duty of care they owed to Plaintiff,

including, but not limited to:
a. Failure to properly train or equip their employee(s); and
b. Failure to protect patrons, including plaintiff, from physical harm and injury;

31. | Defendant Doe was incompetent and negligent in the performance of his duties
and Defendants and/or Doe had or should have had actual and/or constructive knowledge of such
incompetence and negligence.

32. Defendants and/or Doe, acting jointly and/or severally, and/or individually and/or
in concert, was negligent in allowing Defendant Doe to remain employed and to negligently
strike Plaintiff causing the aforementioned injuries and damages to Plaintiff while she was on the
Premises.

33. Asa result of the aforementioned negligence of Defendants, acting jointly and/or
severally and/or in concert, Plaintiff suffered serious physical injuries, including, but not limited
to, injury to her right leg and knee requiring surgical intervention; some of said injuries which
are and may be permanent in nature.

34. As a result of the aforementioned negligence, Plaintiff incurred expenses in
excess of Eighty One Thousand and 00/100 Dollars ($81,000.00) for medical treatment and
hospital expenses and may incur additional expenses for medical treatment in the future. Some
of said expenses may be subrogated.

35. As result of the aforementioned negligence of Defendants Doe(s) and/or
Defendants, acting jointly and/or severally and/or in concert, and the resulting injury, Plaintiff
has lost or had impaired the use of her physical faculties, suffered pain and mental anguish,

embarrassment, humiliation and fright and will continue to suffer in the future.

Page 7 of 9

 
 

Case 2:19-cv-00065 Document 1-1 Filed 01/25/19 Page 9 of 22 PagelD #: 14

36. As a result of the aforementioned negligence and resulting injury Plaintiff has lost
income and is reasonably expected to suffer a loss of future income and has had her future
eaming capacity impaired.

WHEREFORE, the Plaintiff demands judgment as follows:

Judgement against Defendants, jointly and severally, or in the altemative individually, in
an amount in excess of Seventy Five Thousand and 00/100 Dollars ($75,000.00) as
compensatory damages and, where appropriate, in an amount in excess of Seventy Five
Thousand and 00/100 Dollars ($75,000.00) as punitive damages, and said Plaintiff further

demands interest, costs, and any further just relief.

Respectfully submitted,

 

Plaintiff, : im Wind det

“Wotlk | wi

Matthew = Carlisle (WV I ll No. Le
THEISEN BROCK, LPA

424 Second Street

Marietta, OH 45750

Telephone: 740.373.5455

Fax: 740.373.4409

Email: carlise@theisenbrock.com
Counsel for Darlene Gum

 

 

 

 

OF COUNSEL:

Sanford A. Meizlish (OH Bar No. 0002620)

Jason C. Cox (OH Bar No. 0095169)

BARKAN MEIZLISH DeROSE .

WENTZ McINERNEY PEIFER, LLP

250 E. Broad St., 10" Floor

Columbus, Ohio 43215

Telephone: (614) 221-4221

Fax: (614) 744-2300

Email: smeizlish@barkanmeizlish.com
jeox@barkanmeizlish.com ~

Page 8 of 9

 
 

Case 2:19-cv-00065 Document1-1 Filed 01/25/19 Page 10 of 22 PagelD #: 15

JURY DEMAND

Plaintiff hereby demands a trial by a jury of eight (8) persons to hear all issues so triable.

Plaintiff, Darlene Gum, by counsel,

West C. Carlisle (WV Bar No. 8790)

THEISEN BROCK, LPA

424 Second Street

Marietta, OH 45750

Telephone: 740.373.5455

Fax: 740.373.4409

Email; carlise@theisenbrock.com
Counsel for Darlene Gum

(458447)

Page 9 of 9

 
Case 2:19-cv-00065 Document1-1 Filed 01/25/19 Page 11 of 22 PagelD #: 16

SUMMONS

IN THE CIRCUIT COURT OF WOOD COUNTY, WEST VIRGINIA '

DARLENE GUM
Plaintiff(s)

VS:
Civil Action # 18-C-343

SAM’S WEST, INC. D/B/A SAM’S CLUB,
SAM’S WEST, INC. D/B/A SAM’S CLUB,
SAM’S EAST, INC. D/B/A SAM’S CLUB,
SAM’S EAST, INC. D/B/A SAM’S CLUB
SAM’S CLUB

WALMART, INC.

WALMART, INC. AND

JOHN DOE 1
Defendant(s)

To: SAM’S WEST, INC. DBA SAM’S CLUB
C/O THE CORPORATION COMPANY

STATUTORY AGENT
124 WEST CAPITOL AVE SUITE 1900
LITTLE ROCK, AR 72201

IN THE NAME OF THE STATE OF WEST VIRGINIA, you are hereby summoned and
required to serve upon Matthew C. Carlisle , Attorneys at Law, Plaintiff's Attorney, whose
address is Theisen Brock, 424 Second Street, Marietta, Ohio 45750, an answer including any
related counterclaim you may have, to the complaint filed against you in the above styled civil
action, a true copy of which is herewith delivered to you. You are required to serve your answer
within 30 days after service of this summons upon you, exclusive of the day of service. If you
fai) to do so, judgment by default will be taken against you for the relief demanded in the
complaint and you will be thereafter barred from asserting in another action any claim you may
have which must be asserted by counterclaim in the above styled civil action.

By: Sete

Dated: December 27, 2018
Case 2:19-cv-00065 Documenti1-1 Filed 01/25/19

2), CT Corporation

Page 12 of 22 PagelD #: 17

Service of Process
Transmittal
01/04/2019

CT Log Number 534674098

TO: Kim Lundy Service of Process, Legal Support Supervisor

Walmart Inc.

702 SW 8th St, MS#0215

Bentonville, AR 72716-6209

RE: Process Served in Arkansas

FOR: Sam's West, Inc. (Domestic State: AR)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:
DOCUMENT(S) SERVED:

COURTIAGENCY:

NATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:

DATE AND HOUR OF SERVICE:
JURISDICTION SERVED:
APPEARANCE OR ANSWER DUE:

ATTORNEY(S) / SENDER(S):

ACTION ITEMS:

SIGNED:
ADDRESS:

TELEPHONE:

Gum Darlene, Pltf. vs. Sam's West, inc., etc., et al., Dfts.
Summons, Complaint, Jury Demand

Wood County Circuit Court, WV
Case # 18C343

Personal Injury - Failure to Maintain Premises in a Safe Condition - 01/13/2017 -
2101 SE Simple Savings Dr., Bentonville, Arkansas 72712

CT Corporation System, Little Rock, AR
By Certified Mail on 01/04/2019 postmarked on 12/28/2018
Arkansas

Within 30 days after service, exclusive of the day of service

Matthew C. Carlisle
Theisen Brock, LPA
424 Second Street
Marietta, OH 45750
740-373-5455

CT has retained the current log, Retain Date: 01/04/2019, Expected Purge Date:
01/09/2019

Image SOP

Email Notification, Kim Lundy Service of Process ctlawsuits@walmartlegal.com

CT Corporation System
124 West Capitol Avenue
Suite 1900

Little Rock, AR 72201-3736
214-932-3601

Page 1 of 1 / NP

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amount of damages, the answer date, or any information
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appropriate action. Signatures on certified mall receipts
confirm recelpt of package only, not contents,
 

 

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Case 2:19-cv-00065 Document1-1 Filed 01/25/19 Page 14 of 22 PagelD #19

SUMMONS

IN THE CIRCUIT COURT OF WOOD COUNTY, WEST VIRGINIA

DARLENE GUM
’ Plaintiff(s)

VS:
Civil Action # 18-C-343

SAM'S WEST, INC. D/B/A SAM’S CLUB,
SAM'S WEST, INC. D/B/A SAM’S CLUB,
SAM’S EAST, INC. D/B/A SAM’S CLUB,
SAM’S EAST, INC. D/B/A SAM’S CLUB :
SAM’S CLUB

WALMART, INC,

WALMART, INC. AND

JOHN DOE 1
Defendant(s)

To: SAM’S EAST, INC. DBA SAM’S CLUB
C/O THE CORPORATION COMPANY
STATUTORY AGENT
124 WEST CAPITOL AVE; SUITE 1900
LITTLE ROCK, AR 72201

IN THE NAME OF THE STATE OF WEST VIRGINIA, you are hereby summoned and
required to serve upon Matthew C. Carlisle , Attorneys at Law, Plaintiffs Attorney, whose
address is Theisen Brock, 424 Second Street, Marietta, Ohio 45750, an answer including any
related counterclaim you may have, to the complaint filed against you in the above styled civil
action, a true copy of which is herewith delivered to you. You are required to serve your answer
within 30 days after service of this summons upon you, exclusive of the day of service. If you
fail to do so, judgment by default will be taken against you for the relief demanded in the
complaint and you will be thereafter barred from asserting in another action any claim you may
have which must be asserted by counterclaim in the above styled civil action.

Dated: December 27, 2018 .
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By: LAYS va

Deptt
Case 2:19-cv-00065 Documenti1-1 Filed 01/25/19

<), CT Corporation

Page 15 of 22 PagelD #: 20

Service of Process
Transmittal
01/02/2019

CT Log Number 534665387

TO: Kim Lundy Service of Process, Legal Support Supervisor

Walmart Inc.

702 SW 8th St, MS#0215

Bentonville, AR 72716-6209

RE: Process Served in Arkansas

FOR: Sam's East, Inc. (Domestic State: AR)

ENCLOSED ARE COFIES OF LEGAL PROGESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:
DOCUMENT(S) SERVED:

COURTIAGENCY:

NATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:

DATE AND HOUR OF SERVICE:
JURISDICTION SERVED :
APPEARANCE OR ANSWER DUE:

ATTORNEY(S) / SENDER(S):

ACTION ITEMS:

SIGNED:
ADDRESS:

TELEPHONE:

Gum Darlene, Pltf. vs. Sam's West, Inc., etc., et al., Dfts.
Summons, Complaint

Wood County-Circuit Court, WV
Case # 180343

Personal Injury - Failure to Maintain Premises in a Safe Condition - 01/13/2017 -
1100 Grand Central Ave., Vienna, Wood County, West Virginia

CT Corporation System, Little Rock, AR
By Certified Mail on 01/02/2019 postmarked on 12/28/2018
Arkansas

Within 30 days after service, exclusive of the day of service

Matthew C. Carlisle
Theisen Brock, LPA
424 Second Street
Marietta, OH 45750
740-373-5455

CT has retained the current log, Retain Date: 01/03/2019, Expected Purge Date:
01/08/2019

Image SOP

Email Notification, Kim Lundy Service of Process ctlawsuits@walmartlegal.com

CT Corporation System
124 West Capitol Avenue
Suite 1900

Little Rock, AR 72201-3736
214-932-3601

Page 1 of 1/ JB

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contained in the documents themselves. Recipient is
responsible for interpreting said dacuments and for taking
appropriate action. Signatures on certified matl receipts
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Case 2:19-cv-00065 Document1-1 Filed 01/25/19 Page 17 of 22 PagelD #: 22

SUMMONS

IN THE CIRCUIT COURT OF WOOD COUNTY, WEST VIRGINIA

DARLENE GUM
Plaintiff(s)

VS:
Civil Action # 18-C-343

SAM’S WEST, INC. D/B/A SAM’S CLUB,
SAM’S WEST, INC. D/B/A SAM’S CLUB,
SAM'S EAST, INC. D/B/A SAM’S CLUB,
SAM’S EAST, INC. D/B/A SAM’S CLUB

SAM’S CLUB
WALMART, INC.
WALMART, INC. AND
JOHN DOE |!
Defendant(s)
To: SAM’S EAST, INC DBA SAM’S CLUB
C/O CT CORPORATION
1627 QUARRIER ST

CHARLESTON, WV 25311-2124

IN THE NAME OF THE STATE OF WEST VIRGINIA, you are hereby summoned and
required to serve upon Matthew C. Carlisle , Attorneys at Law, Plaintiff's Attorney, whose
address is Theisen Brock, 424 Second Strect, Murietta, Ohio 45750, an answer including any
related counterclaim you may have, to the complaint filed against you in the above styled civil
action, a true copy of which is herewith delivered to you. You are required to serve your answer
within 30 days after service of this summons upon you, exclusive of the day of service. , If you
fail to do so, judgment by default will be taken against you for the relief demanded in the
complaint and you will be thereafter barred from asserting in another action any claim: you may
have which must be asserted by counterclaim in the above styled civil action.

Dated: December 27, 2018
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By: RK 'y ¢ fla
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Case 2:19-cv-00065 Documenti1-1 Filed 01/25/19

#), CT Corporation

Page 18 of 22 PagelD #: 23

Service of Process

Transmittal
01/02/2019
CT Log Number 534665459
TO: Kim Lundy Service of Process, Legal Support Supervisor
Walmart Inc.

702 SW 8th St, MS#0215

Bentonville, AR 72716-6209

RE: Process Served in West Virginia

FOR: Sam's East, Inc. (Domestic State: AR)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:
DOCUMENT(S) SERVED:

COURT/AGENCY:

NATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:

DATE AND HOUR OF SERVICE:
JURISDICTION SERVED :
APPEARANCE OR ANSWER DUE:

ATTORNEY(S) / SENDER(S):

ACTION ITEMS:

SIGNED:
ADDRESS:

TELEPHONE:

Gum Darlene, Pltf. vs. Sam's West, Inc., etc., et al., Dfts.
Summons, Complaint, Jury Demand

Wood County-Circuit Court, WV
Case # 18343

Personal Injury - Failure to Maintain Premises in a Safe Condition - 01/13/2017 -
1100 Grand Central Ave., Vienna, Wood County, West Virginia

C T Corporation System, Charleston, WV

By Certified Mail on 01/02/2019 postmarked: "Not Post Marked"
West Virginia

Within 30 days after service, exclusive of the day of service

Matthew C. Carlisle
Theisen Brock, LPA
424 Second Street
Marietta, OH 45750
740-373-5455

CT has retained the current log, Retain Date: 01/03/2019, Expected Purge Date:
01/08/2019

Image SOP

Email Notification, Kim Lundy Service of Process ctlawsuits@walmartlegal.com

C T Corporation System
1627 Quarrier St
Charleston, WV 25311-2124
302-658-7581 / 7582/7583

Page 1 of 1/ JB

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appropriate action. Signatures on certified mail receipts
confirm receipt of package only, not contents,
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SAMS EAST INC. DBA SAMS CLUB 18-C
C/O CT CORPORATION SYSTEM

1627 QUARRIER ST
CHARLESTON, WV 25311-2124

Whod County Gudicial Building
Parbersbueg, V/V 26101-5353
Return Service Requested

#f 2 Goverment Square

 
Case 2:19-cv-00065 Document1-1 Filed 01/25/19 Page 20 of 22 PagelD #: 25

SUMMONS

IN THE CIRCUIT COURT OF WOOD COUNTY, WEST VIRGINIA

DARLENE GUM
Plaintiff(s) '

VS:
Civil Action # 18-C-343

SAM’S WEST, INC. D/B/A SAM’S CLUB,
SAM’S WEST, INC. D/B/A SAM’S CLUB,
SAM’S EAST, INC. D/B/A SAM’S CLUB,
SAM’S EAST, INC. D/B/A SAM’S CLUB

SAM’S CLUB
WALMART, INC.
WALMART, INC. AND
JOHN DOE 1
; Defendant(s)
To: WALMART, INC
C/O CT CORPORATION
1627 QUARRIER ST

CHARLESTON, WV 25311-2124

IN THE NAME OF THE STATE OF WEST VIRGINIA, you are hereby summoned and
required to serve upon Matthew C. Carlisle , Attorneys at Law, Plaintiff's Attorney, whose
address is Theisen Brock, 424 Second Street, Marietta, Ohio 45750, an answer including any
related counterclaim you may have, to the complaint filed against you in the above styled civil
action, a true copy of which is herewith delivered to you. You are required to serve your answer
within 30 days after service of this summons upon you, exclusive of the day of service. If you
fail to do so, judgment by default will be taken against you for the relief demanded in the
complaint and you will be thereafter barred from asserting in another action any claim you may
have which must be asserted by counterclaim in the above styled civil action.

Dated: December 27, 2018

 

 

 
Case 2:19-cv-00065 Documenti1-1 Filed 01/25/19

2). CT Corporation

Page 21 of 22 PagelD #: 26

Service of Process

Transmittal
01/02/2019
CT Log Number 534665474
TO: Kim Lundy Service of Process, Legal Support Supervisor
Walmart tnc.

702 SW 8th St, MS#0215

Bentonville, AR 72716-6209

RE: Process Served in West Virginia

FOR: Walmart Inc. (Domestic State: DE)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:

DOCUMENT(S) SERVED:

COURT/AGENCY:

NATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:

DATE AND HOUR OF SERVICE:
JURISDICTION SERVED :
APPEARANCE OR ANSWER DUE:

ATTORNEY(S) / SENDER(S):

ACTION ITEMS:

SIGNED:
ADDRESS:

TELEPHONE:

Gum Darlene, Pltf. vs. Sam's West, Inc., etc., et al., Dfts. // To: Walmart, Inc
Name discrepancy noted.

Summons, Complaint

Wood County-Circuit Court, WV
Case # 180343

Personal Injury - Failure to Maintain Premises in a Safe Condition - 01/13/2017 -
1100 Grand Central Ave., Vienna, Wood County, West Virginia

C T Corporation System, Charleston, WV

By Certified Mail on 01/02/2019 postmarked: "Not Post Marked"
West Virginia

Within 30 days after service, exclusive of the day of service

Matthew C. Carlisle
Theisen Brock, LPA
424 Second Street
Marietta, OH 45750
740-373-5455

CT has retained the current log, Retain Date: 01/03/2019, Expected Purge Date:
01/08/2019

Image SOP

Email Notification, Kim Lundy Service of Process ctlawsuits@walmartlegal.com

C T Corporation System
1627 Quarrier St
Charleston, WV 25311-2124
302-658-7581 / 7582/7583

Page 1 of 1/ JB

Information displayed on this transmittal is for CT
Corporation's record keeping purposes only and is provided to
the recipient for quick reference. This information does not
constitute a legal opinion as to the nature of action, the
amount of damages, the answer date, or any information
contained in the documents themselves. Recipient is
responsible for interpreting said documents and for taking
appropriate action, Signatures on certified mail receipts
confirm receipt of package only, not contents.
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